Case 21-10078-JKS            Doc 9     Filed 02/05/21 Entered 02/05/21 14:17:53               Desc Main
                                       Document      Page 1 of 1
 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)


 Scott D. Sherman, Esq.
 MINION & SHERMAN
 33 Clinton Road, Suite 105
 West Caldwell, NJ 07006
 phone #973-882-2424
 fax #973-882-0856
 ssherman@minionsherman.com
 www.minionsherman.com
                                                                   Case No.:            21-10078
                                                                                   ___________________
 In Re:
 GFY REALTY CORPORATION,                                           Chapter:                11
                                                                                   ___________________

                              DEBTOR                               Judge:            SHERWOOD
                                                                                  ___________________



                                       NOTICE OF APPEARANCE

          Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an
                                      Greenwich Village Assoc Request is made that the documents
appearance in this case on behalf of _________________________.
filed in this case and identified below be served on the undersigned at this address:

          ADDRESS:
                       Scott D. Sherman, Esq.
                       MINION & SHERMAN
                       33 Clinton Road, Suite 105
                       West Caldwell, NJ 07006

          DOCUMENTS:
          ☐ All notices entered pursuant to Fed. R. Bankr. P. 2002.

          ☐ All documents and pleadings of any nature.




                2/5/2021
          Date: ___________________________                        /s/ Scott D. Sherman
                                                                   ______________________________
                                                                   Signature


                                                                                                  new.8/1/15
